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             1   JOSHUA H. LERNER, SBN 220755
                 joshua.lerner@wilmerhale.com
             2   WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             3   1 Front Street, Ste. 3500
                 San Francisco, CA 94111
             4   Tel.: 628.235.1124 / Fax: 628.235.1001
             5   H. MARK LYON, SBN 162061
                   mlyon@gibsondunn.com
             6   GIBSON, DUNN & CRUTCHER LLP
                 1881 Page Mill Road
             7   Palo Alto, CA 94304-1211
                 Tel.: 650.849.5300 / Fax: 650.849.5333
             8
                 BRIAN M. BUROKER, pro hac vice
             9     bburoker@gibsondunn.com
                 BRIAN K. ANDREA, pro hac vice
           10      bandrea@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
           11    1050 Connecticut Avenue, N.W.
                 Washington, D.C. 20036
           12    Tel.: 202.955.8500 / Fax: 202.467.0539
           13    [Counsel appearance continues on next page]
           14    Attorneys for Defendant Apple Inc.
           15                    UNITED STATES DISTRICT COURT
           16          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           17
                 MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           18    a Delaware corporation; and                   APPLE’S NOTICE OF MOTION TO
           19    CERCACOR LABORATORIES, INC.,                  REVIEW SPECIAL MASTER ORDER
                 a Delaware corporation,                       NO. 9
           20
                                    Plaintiffs,                Date: July 11, 2022
           21                                                  Time: 1:30pm
           22          v.
                                                               Discovery Cut-Off: August 12, 2022
           23    APPLE INC.,
                                                               Pre-Trial Conference: March 13, 2023
                 a California corporation,
           24                                                  Trial: March 28, 2023
           25                       Defendant.

           26
           27
           28
                 APPLE’S NOTICE OF MOTION TO REVIEW SPECIAL MASTER ORDER NO. 9
Wilmer Cutler
Pickering Hale                                                    CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
            Case 8:20-cv-00048-JVS-JDE Document 744 Filed 05/25/22 Page 2 of 3 Page ID #:51956




            1    BRIAN A. ROSENTHAL, pro hac vice
                  brosenthal@gibsondunn.com
            2    GIBSON, DUNN & CRUTCHER LLP
                 200 Park Avenue
            3    New York, NY 10166-0193
                 Tel.: 212.351.2339 / Fax: 212.817.9539
            4
                 ILISSA SAMPLIN, SBN 314018
            5      isamplin@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
            6    333 South Grand Avenue
                 Los Angeles, CA 90071-3197
            7    Tel.: 213.229.7000 / Fax: 213.229.7520
            8    ANGELIQUE KAOUNIS, SBN 209833
                  akaounis@gibsondunn.com
            9    GIBSON, DUNN & CRUTCHER LLP
                 2029 Century Park East Suite 4000
          10     Los Angeles, CA 90067
                 Tel.: 310.552.8546 / Fax: 310.552.7026
          11
                 KENNETH G. PARKER, SBN 182911
          12      ken.parker@haynesboone.com
                 HAYNES AND BOONE, LLP
          13     600 Anton Blvd., Suite 700
                 Costa Mesa, CA 92626
          14     Tel: 720.274.3152 / Fax: 720.273.3133
          15     MARK D. SELWYN, SBN 244180
                  mark.selwyn@wilmerhale.com
          16     WILMER CUTLER PICKERING
                  HALE AND DORR LLP
          17     2600 El Camino Real, Suite 400
                 Palo Alto, CA 94306
          18     Tel.: 650.858.6000 / Fax: 650.858.6100
          19     NORA Q.E. PASSAMANECK, pro hac vice
                  nora.passamaneck@wilmerhale.com
          20     WILMER CUTLER PICKERING
                  HALE AND DORR LLP
          21     1225 Seventeenth St., Suite 2600
                 Denver, CO 80202
          22     Tel: 720.274.3152 / Fax: 720.273.3133
          23

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                 APPLE’S NOTICE OF MOTION TO REVIEW SPECIAL MASTER ORDER NO. 9
Wilmer Cutler
Pickering Hale
                                                                   Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
 Case 8:20-cv-00048-JVS-JDE Document 744 Filed 05/25/22 Page 3 of 3 Page ID #:51957




 1   TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that on July 11, 2022, or as soon thereafter as the
 3   matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa
 4   Ana, California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does,
 5   object, under Federal Rule of Civil Procedure 53 and the Court’s order appointing
 6   the Hon. Andrew J. Guilford (Ret.) as Special Master (Dkt. No. 470), to Special
 7   Master Order No. 9, dated May 11, 2022, denying Apple’s motion to compel the
 8   production of documents responsive to Apple’s Requests for Production Nos. 346,
 9   350, 358, 360, 361, 364, 366, 369, 371, and 373-375.
10         This motion is supported by the accompanying Objections, the Declaration
11   of Nora Passamaneck, a Proposed Order, and such other evidence or argument as
12   may be presented at or before the hearing.
13
     Dated: May 25, 2022                    Respectfully submitted,
14
                                            H. MARK LYON
15                                          BRIAN M. BUROKER
16                                          BRIAN A. ROSENTHAL
                                            ILISSA SAMPLIN
17                                          ANGELIQUE KAOUNIS
18                                          BRIAN ANDREA
                                            GIBSON, DUNN & CRUTCHER LLP
19
                                            KENNETH G. PARKER
20                                          HAYNES AND BOONE, LLP
21                                          MARK D. SELWYN
                                            JOSHUA H. LERNER
22
                                            NORA Q.E. PASSAMANECK
23                                          WILMER CUTLER PICKERING HALE
24
                                            AND DORR LLP
                                            By: /s/ Mark D. Selwyn
25
                                            Mark D. Selwyn
26                                          Attorneys for Defendant Apple Inc.
27

28   APPLE’S NOTICE OF OBJECTIONS AND OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
                                               1         Case No. 8:20-cv-00048-JVS (JDEX)
